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                        IN THE UNITED STATES DISTRICT COURT          S     1
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

UNITED STATES OF AMERICA
                                                      CRIMINAL ACTION FILE NO.
v.                                                    1:12-CR-078-0DE-RGV
NEMIAS CINTORA-GONZALEZ
JORGE ARMANDO-REYES


                                            ORDER


        This criminal action is before the Court on the Final Report and

Recommendation of United States Magistrate Judge Russell G. Vineyard

filed August 10, 2012 [Doc. 132].              No objections have been filed by
either Defendant.

        In    the    Report   and     Recommendation,     the     Magistrate      Judge
recommends that Defendants' Motions to Suppress [Docs. 91, 98, 99 &
111] be denied.

        The    Court     having      read    and    considered     the   Report     and

Recommendation and noting the absence of any objections, it is hereby

adopted as the opinion and order of the Court.                   For the reasons set

forth    in    the   Report   and    Recommendation,     Defendants'     Motions     to

Suppress [Docs. 91, 98, 99 & 111] are DENIED.



        SO ORDERED, this      c2 \    day of September, 2012.




                                             ORINDA D. EVANS
                                             UNITED STATES DISTRICT JUDGE
